> .          Case 8:04-cr-00246-JSM-AAS Document 223 Filed 02/21/08 Page 1 of 6 PageID 577
      A 0 245B (Rev 06105) Sheet 1 - Judgment in a Criminal Case


                                  UNITED STATES DISTRICT COURT
                                                       MIDDLE DISTRICT OF FLORIDA
                                                            TAMPA DMSION



      UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL CASE

                                                                     CASE NUMBER: 8:04-cr-246-T-30TBM
                                                                     USM NUMBER: 41994018
      VS.



      JOSE NAERA HAYLOCK
                                                                     Defendant's Attorney: Kenneth Martin, cja.

      THE DEFENDANT:

      X pleaded guilty to count(s) One of the Indictment.
      -
      -pleaded nolo contendere to count(s) which was accepted by the court.
      - was found guilty on count(s) after a plea of not guilty.
      TITLE & SECTION                     NATURE OF OFFENSE                                      OFFENSE ENDED              COUNT

      46 Appendix, U.S.C. @1903(a), Conspiracy to Possess With Intent to Distribute              April 23, 2004             One
      1903 (g), and 1903(i);         Five Kilograms or More of Cocaine, While
      and 21 U.S.C. §960@)(1)(B)(ii) Aboard a Vessel Subject to the Jurisdiction
                                     of the United States


              The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
      Sentencing Reform Act of 1984.

      - The defendant has been found not guilty on countts)
      -
      X Count(s) Two of the Indictment is dismissed on the motion of the United States.

      IT IS FURTHER ORDERED that the defendant shaU notify the United States Attorney for this district within 30 days of anychange
      of name, residence, or mailing address until all fmes, restitution, costs, and special assessmentsimposed by h s judgment are fully paid.
      If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
      circumstances.


                                                                                       Date of Impositionof Original Sentence: October 28,2004




                                                                                       DATE: February    2,        2008
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A 0 245B (Rev 06/05) Sheet 2 - Inlprisonnlent
Defendant :        JOSE NAJERA HAYLOCK                                                                      Judgment - Page 2 o f 6
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               The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of ONE HUNDRED and THIRTY-FIVE (135) MONTHS as to Count One of the Indictment.




- The court makes the following recommendations to the Bureau of Prisons:


-
X The defendant is remanded to the custody of the United States Marshal.
-The defendant shall surrender to the United States Marshal hjr this district.
      -at - a.m.1p.m. on -.
          -as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          -before 2 p.m. on -.
          -as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Ot'tice.


                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to                                            at

                                                                         , with a certified copy of this judgment.


                                                                                         United States Marshal



                                                                     Deputy Marshal
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A 0 245B (Rev. 06/05)Sheet 3 - Supervised Release

Defendant:         JOSE NAJERA HAYLOCK                                                                Judgment - Page 3of 6
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                                                         SUPERVISED RELEASE

       Upon release from imprisonment, the defcndant shall be on supervised release for a term of FIVE (5) YEARS as to
Count One of the Indictment.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal. state, or local crime.
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.


          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
          the Schedule of Payments sheet of this judgment.

          The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.
                                           STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not leave the judicial district without the permission of the court or probation officer;

          the defendant shall report to the probation officer and shall submit a truthful and complete written report wilhin the first five days of each
          month;

          the defendant shall answer truthfully all inquitit! by the probation officer and follow the instructions of the probation officer;

          the defendant shall support his or her dependents and meet other family responsibilities;

          the defendant shall work regularly at a lawful occupation, unless excusctl by the probation ofiicer for schooling, training, or other
          acceptable reasons;

          the defendant shall notify the probation oft'icer at least ten days prior to any change in residence or employment;

          the defendant shall refi-ain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

          the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or ad~ninistered;

          the defendant shall not associate with any persons cngagcd in criminal activity and shall not associate with any person convicted of a
          Felony, unless granted permission to do so by the probation oficcr;

          the defendant shall permit a probation ofticer to visit him or her at any time at home or elsewhere arid shall pennit confiscation of any
          contraband obscnwl in plain view of the probation ofticer;

          the defendant shall notify the probation ofticer within seventy-two hours of bcing arrested or questioned by a law enforcement officer;

          the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforccmcnt agency without the
          permission of the court;

          as directed by the probation officer, the defendant shall notify third parties of risks hat may be occasioned by the defendant's criminal record
          or personal history or characteristics and shall permit the probation ofticer to make such notifications and to contirm the deikndant's
          compliance with such notification requirement.
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A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release

Defendant:                                                                         Judgment - Page 4       of   6
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                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:



-
X        If the defendant is deported. he/she shall not beallowed to re-enter the United States without the express permission of the
         appropriate governmental authority.

-
X        The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The defendant shall refrain
         from any unlawful use of a controlled substance. The defendant shall submit toone drug test within 15 days of placement
         on probation and at least two periodic drug tests thereafter as directed by the probation officer.
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 A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties

 Defendant:         JOSE NAJERA HAYLOCK                                                    Judgment - Page 5 of 6
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                                          CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                         Fine                       Total Restitution

          Totals:            $100.00                            Waived                     N/A


 -        The determination of restitution is deferred until        .             i Judgment in a Criminal Case ( A 0 245C) will
                                                                         An Amende~
          be entered after such determination.
 -        The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. unless
          specified otherwise in the priority order or ercentage payment column below. However, pursuant to 18 U.S.C. $
          3664(i), all nonfederal victims must be palcf)before the United States.
                                                                                                              Priority Order or
                                                 *Total                     Amount of                         Percentage of
 Name of Payee                                 Amount of Loss            Restitution Ordered                  Payment




                             Totals:           L                         L

 -        Restitution amount ordered pursuant to plea agreement $
 -        The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth day after the date of the judgment, ursuant to 18 U.S.C. $ 3 6 12(f). All of the payment options on Sheet
                                                                P
          6 may be subject to penalties for delinquency and de ault, pursuant to 18 U .S.C. 5 3612(g).
 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine     - restitution.

         -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 1 IOA, and 1 13A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments

Defendant:        JOSE NAJERA HAYLOCK                                                      Judgment - Page 6of 6
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                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

                  Lump sum payment of $ 100.00 due iinmediately, balance due
                            -not later than                   , or

                            -in accordance - C, - D. - E or - F below; or
                  Payment to begin immediately (may be combined with -C, -D. or                            F below); or
                  Payment in equal                 (e .g., weekly, monthly. quarterly) installments of $             over a
                  period -of-        (e.g., months or years). to commence               days (e.g., 30 or 60 days) after the
                  date of this judgment; or
                  Payment in equal                (e .g., weekly. monthly, quarterly) installments of $              over a
                  period of
                               , (e-g., ~nonthsor years) to commence                      (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision: or
                  Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
                  Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of im risonrnent. payment of criminal
monetary penalties is due during i ~ nrisonment. All cri~ninalmonetary penalties. except t lose a rnents made through the
                                        i
Federal Bureau of Prisons' Inmate inancial Responsibility Program. are made to the clerk o t e court.     pi;
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee. if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril any and all assets and property.
                                                                                                    i
or portions thereof, subject to forfeiture, which are in the possession or control of t e defendant or the defendant's
nominees.



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal,
( 5 ) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
